                     Case 1:20-cv-00519-MDH Document 6 Filed 01/20/21 Page 1 of 2
5/06
Form: Pro Hac Vice
                        IN THE UNITED STATES DISTRICT/BANKRUPTCY COURTS
                                    FOR THE DISTRICT OF IDAHO
                                         )
   SHEILA M. ADLER, an individual,       )      Case No. 1:20-cv-00519-REB
            Plaintiff,                   )
v.                                       )      APPLICATION FOR ADMISSION
   SUN VALLEY COMPANY, a Wyoming         )      PRO HAC VICE
   corporation,                          )
            Defendant.                   )
                                         )      Fee: $250.00

       Pursuant to Local Rule 83.4(e) of the United States District Court for the District of Idaho,
David Castleberry                                  , hereby applies for admission pro hac vice to appear and participate
in this case on behalf of Sun Valley Company                                                                             .

          The applicant hereby attests as follows:

          1. Applicant resides in Utah                                                       , and practices at the following
address and phone number 136 East South Temple, Suite 1300, Salt Lake City, Utah 84111; (801) 363-5678


          2. Applicant has been admitted to practice before the following courts on the following dates: To be continued on next page
Courts:                                                                   Dates:
 Nevada State Court                                                       October 2004

 U.S. District Court of District of Nevada                                 October 2004

U.S. Court of Appeals, Ninth Circuit                                       November 2005

 Utah State Court                                                          October 2007

          3. Applicant is in good standing and eligible to practice in said courts.

          4. Applicant is not currently suspended or disbarred in any other courts.

          5. D. Andrew Rawlings                                  , a member in good standing of the bar of this court, of the firm of
 Holden, Kidwell, Hahn & Crapo, P.L.L.C.                         , practices at the following office address and phone number:
 1000 Riverwalk Drive, Suite 200, Idaho Falls, Idaho 83402; (208) 596-1523


and is hereby designated as co-counsel with authority to act as attorney of record for all purposes. Said designee hereby consents
to this designation by signing this application.
Dated this 8th     day of January              , 2021 .

 /s/ David C. Castleberry                                         /s/ D. Andrew Rawlings
Applicant                                                        Designee
Signed under penalty of perjury.
          Case 1:20-cv-00519-MDH Document 6 Filed 01/20/21 Page 2 of 2




2. Applicant has been admitted to practice before the following courts on the following dates:



Courts:                                             Dates:

U.S. Court of Appeals, Tenth Circuit                November 2009

U.S. Court of Appeals, Sixth Circuit                June 2012

U.S. Supreme Court                                  June 2014

U.S. Dist. Court for Northern Illinois              May 2019
